                   Caseto 19-11258-KHK
 Fill in this information identify your case:             Doc 1             Filed 04/18/19 Entered 04/18/19 16:09:21                                Desc Main
                                                                            Document     Page 1 of 87
 United States Bankruptcy Court for the:

                 Eastern District of Virginia

 Case number (If known):                            Chapter you are filing under:
                                                    ✔
                                                    ❑        Chapter 7
                                                    ❑        Chapter 11
                                                    ❑        Chapter 12
                                                    ❑        Chapter 13                                                                       ❑Check if this is an
                                                                                                                                                 amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                             12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your           Joni
       government-issued picture                First name                                                       First name
       identification (for example, your
                                                J
       driver’s license or passport).
                                                Middle name                                                      Middle name
       Bring your picture identification to     Johnson
       your meeting with the trustee.           Last name                                                        Last name


                                                Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                First name                                                       First name
       Include your married or maiden
       names.                                   Middle name                                                      Middle name


                                                Last name                                                        Last name




                                                First name                                                       First name


                                                Middle name                                                      Middle name


                                                Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                xxx - xx - 8        5       2   1                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer              OR                                                               OR
       Identification number                    9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
 Debtor 1      Case
                  Joni19-11258-KHK
                                J                   Doc 1         Filed
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                                                                                                 Case number (if known)
                     First Name          Middle Name              Document
                                                                    Last Name    Page 2 of 87


                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          50 Lafayette St
                                          Number             Street                                           Number            Street




                                          Stafford, VA 22554-7699
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Stafford
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1      Case
                  Joni19-11258-KHK
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                                                                                              Case number (if known)
                    First Name           Middle Name           Document
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 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
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                                                                                                     Case number (if known)
                      First Name              Middle Name             Document
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 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




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 Debtor 1      Case
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                                                                                                  Case number (if known)
                     First Name            Middle Name             Document
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 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




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 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ✔
                                                   ❑    No. Go to line 16b.

                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ❑          ✔ 50-99
                                                   1-49 ❑                           ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                             ❑                                       ❑                                               ❑
      your liabilities to be?
                                                   $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                             ✔
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Joni J Johnson
                                         Joni J Johnson, Debtor 1
                                         Executed on 04/18/2019
                                                         MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
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   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Robert R. Weed                                                    Date 04/18/2019
                                                 Robert R. Weed, Attorney                                                    MM / DD / YYYY




                                                  Robert R. Weed
                                                 Printed name

                                                 Law Offices Of Robert Weed
                                                 Firm name

                                                 1376 Old Bridge Rd. Ste 101-4
                                                 Number       Street



                                                  Woodbridge                                                         VA       22192
                                                 City                                                                State    ZIP Code



                                                 Contact phone (703) 335-7793                                     Email address robertweed@robertweed.com


                                                 24646                                                               VA
                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
                     Case 19-11258-KHK
 Fill in this information to identify your case and this filing:
                                                                      Doc 1            Filed 04/18/19 Entered 04/18/19 16:09:21                                                        Desc Main
                                                                                       Document     Page 8 of 87
  Debtor 1                          Joni                         J                          Johnson
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                           Eastern District of Virginia
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     50 Lafayette St                                                 What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description                                                    ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              Stafford, VA 22554-7699                                        ❑ Land                                                                                  $447,781.00                    $447,781.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Stafford
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Homestead
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Source of Value:
                                                                             Zillow



    If you own or have more than one, list here:

      1.2      Mystic Dunes Club and Resort                                   What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
               Condominium
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              Street address, if available, or other
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
              description
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
              7900 Mystic Dunes Ln unit 303                                  ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ✔ Land
                                                                             ❑                                                                                             $1.00                           $1.00
               Kissimmee, FL 34747-2501                                      ❑ Investment property
              City                               State        ZIP Code       ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Osceola
                                                                             ❑ Other                                                                     estate), if known.
              County                                                          Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Lease
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $447,782.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1           Case
                       Joni19-11258-KHK
                                     J                                 Doc 1            Filed
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                                                                                                                       Case number (if known)
                            First Name                    Middle Name                   Document
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 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Nissan                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Sentra
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   150000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                           $134.00                    $134.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             Brother's Car




      If you own or have more than one, list here:

       3.2 Make:                                   Kia                       Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Sorento
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   185000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                           $746.00                    $746.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             Daughter's Car located in Atlanta




       3.3 Make:                                   Mazda                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   CX-7
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2008                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   175000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                           $129.00                    $129.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $1,009.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                   Doc 1        Filed
                                                                      Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                    Case number (if known)
                       First Name               Middle Name         Document
                                                                       Last Name    Page 10 of 87


 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                          Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.
                                                                                                                                                          $1,400.00


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Electronics                                                                                                         $2,870.00



 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Clothes                                                                                                               $400.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      See Attached.
                                                                                                                                                          $2,900.00




Official Form 106A/B                                                              Schedule A/B: Property                                                 page 3
 Debtor 1            Case
                        Joni19-11258-KHK
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                                                                                                    Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                                                  Case number (if known)
                              First Name                         Middle Name                      Document
                                                                                                     Last Name    Page 11 of 87


 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses
       ✔ No
       ❑
       ❑ Yes. Describe........

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                $7,570.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                                      claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes........................................................................................................................................................
       ❑                                                                                                                                                               Cash..............
                                                                                                                                                                                                                      $10.00



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                USAA 4025                                                                                                                           $400.00


 17.2. Checking account:                                Capital one                                                                                                                         $116.53


 17.3. Savings account:                                 USAA 3435                                                                                                                           $100.00


 17.4. Savings account:                                 Capital One                                                                                                                          $50.75


 17.5. Certificates of deposit:


 17.6. Other financial account:                         USAA Custodial Account for Sydnee Johnson Edmonds 7799                                                                                $1.61



 17.7. Other financial account:                         USAA Custodial Account for Sydnee Johnson Edmonds 7772                                                                                $0.01




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                    page 4
 Debtor 1         Case
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 17.8. Other financial account:           USAA Custodial Account for Avery Johnson Edmonds                                              $0.01


 17.9. Other financial account:           USAA Custodial Account for Avery Johnson Edmonds 2076                                         $3.39


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                       page 5
 Debtor 1        Case
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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements

       ❑ No
       ✔ Yes. Give specific
       ❑                                    My Blue Eyes
            information about them....                                                                                                                                  $20.00


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.


 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑         Give specific information about         2018 | 2018 Projected Tax Refund (Come & Gone)                        Federal:                                   $1.00
                 them, including whether you
                 already filed the returns and the       2018 | 2018 Projected Tax Refund (Come & Gone)                     State:                                        $1.00
                 tax years.......................
                                                                                                                            Local:


 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                            Alimony:

                                                                                                                               Maintenance:

                                                                                                                            Support:

                                                                                                                               Divorce settlement:

                                                                                                                            Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑         Name the insurance company
                                                           Company name:                                        Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....
                                                           SGLI Term Life                                                                                                    $1.00
                                                           AXA Equitable Term Life                                                                                           $1.00




Official Form 106A/B                                                             Schedule A/B: Property                                                             page 6
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                                   Doc 1            Filed
                                                                                          Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
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                           First Name                      Middle Name                  Document
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 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.

       ❑ No
       ✔ Yes.
       ❑            Give specific information..........                Inchoate Inheritance
                                                                                                                                                                                               $1.00




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜               ($520.90)



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
                                                                                                                                                                               Current value of the
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                               claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                         page 7
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                                  Doc 1            Filed
                                                                                         Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                                       Case number (if known)
                           First Name                      Middle Name                 Document
                                                                                          Last Name    Page 15 of 87

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Medical office Furniture supplies and equipment
                                                                                                                                                                                                  $9,500.00


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ✔ Yes. Give specific
       ❑
            information.........


 Patient Medical records in storage unit                                                                                                                                      $1.00


 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                       $9,501.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                      Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                page 8
 Debtor 1           Case
                       Joni19-11258-KHK
                                     J                                     Doc 1            Filed
                                                                                             Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                                           Case number (if known)
                            First Name                       Middle Name                   Document
                                                                                              Last Name    Page 16 of 87

 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                     $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                      $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜         $447,782.00


 56.   Part 2: Total vehicles, line 5                                                                                          $1,009.00


 57.   Part 3: Total personal and household items, line 15                                                                     $7,570.00


 58.   Part 4: Total financial assets, line 36                                                                                 ($520.90)


 59.   Part 5: Total business-related property, line 45                                                                        $9,501.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $17,559.10             Copy personal property total➜     +   $17,559.10




Official Form 106A/B                                                                                            Schedule A/B: Property                                                        page 9
 Debtor 1         Case
                     Joni19-11258-KHK
                                   J                                Doc 1           Filed
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                                                                                      Last Name    Page 17 of 87


 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................   $465,341.10




Official Form 106A/B                                                                                 Schedule A/B: Property                                             page 10
               Case 19-11258-KHK               Doc 1     Filed 04/18/19 Entered 04/18/19 16:09:21 Desc Main
 Debtor 1              Joni          J                  Document
                                                          Johnson     Page 18 of 87   Case number (if known)
                       First Name       Middle Name       Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                            Continuation Page

 6.   Household goods and furnishings
      Kitchen Furniture                                                                                         $500.00
      Living room Furniture                                                                                     $400.00
      Bedroom Furniture                                                                                         $500.00

 12. Jewelry
       Watches and other jewelry                                                                                $400.00
       Wedding bands                                                                                           $2,500.00

 17. Deposits of money
      Checking account:             Digit                                                                       $300.00
      Checking account:             USAA Checking joint with daughter                                          $1,433.00
      Checking account:             Bank of America Business Account (Overdrawn Bank Account)              ($3,032.84)
      Savings account:              Amex Personal Savings 4981                                                   $30.64
      Savings account:              USAA Checking joint with daughter                                            $41.00




Official Form 106A/B                                              Schedule A/B: Property
                  Case 19-11258-KHK                    Doc 1        Filed 04/18/19 Entered 04/18/19 16:09:21                              Desc Main
                                                                   Document      Page 19 of 87
 Fill in this information to identify your case:

  Debtor 1                    Joni                 J                   Johnson
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Eastern District of Virginia

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 50 Lafayette St Stafford, VA 22554-7699                                 $447,781.00
                                                                                         ❑                 $7,000.00              Va. Code Ann. § 34-4
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1
                                                                                         ✔
                                                                                         ❑                 $10,000.00             Va. Code Ann. § 34-4.1
                                                                                         ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit


                                                                                         ✔
 Brief description:
 2011 Nissan Sentra                                                           $134.00
                                                                                         ❑                  $134.00               Va. Code Ann. § 34-26(8)

  Brother's Car                                                                          ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes

Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 5
 Debtor 1        Case
                    Joni19-11258-KHK
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                                                               Johnson04/18/19 Entered 04/18/19
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                                                                                                  number (if known)Desc Main
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 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 2011 Kia Sorento                                                      $746.00
                                                                                 ❑                 $746.00                Va. Code Ann. § 34-26(8)

 Daughter's Car located in Atlanta                                               ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        3.2


                                                                                 ✔
 Brief description:
 2008 Mazda CX-7                                                       $129.00
                                                                                 ❑                 $129.00                Va. Code Ann. § 34-26(8)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        3.3


                                                                                 ✔
 Brief description:
 Kitchen Furniture                                                     $500.00
                                                                                 ❑                 $500.00                Va. Code Ann. § 34-26(4a)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 Living room Furniture                                                 $400.00
                                                                                 ❑                 $400.00                Va. Code Ann. § 34-26(4a)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 Bedroom Furniture                                                     $500.00
                                                                                 ❑                 $500.00                Va. Code Ann. § 34-26(4a)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 Electronics                                                         $2,870.00
                                                                                 ❑                $2,870.00               Va. Code Ann. § 34-26(4a)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         7


                                                                                 ✔
 Brief description:
 Clothes                                                               $400.00
                                                                                 ❑                 $400.00                Va. Code Ann. § 34-26(4)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        11


                                                                                 ✔
 Brief description:
 Watches and other jewelry                                             $400.00
                                                                                 ❑                  $0.00                 Va. Code Ann. § 34-4
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        12


                                                                                 ✔
 Brief description:
 Wedding bands                                                       $2,500.00
                                                                                 ❑                $2,500.00               Va. Code Ann. § 34-26(1a)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        12


                                                                                 ✔
 Brief description:
 Cash                                                                   $10.00
                                                                                 ❑                 $10.00                 Va. Code Ann. § 34-4
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        16



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                page 2 of 5
 Debtor 1        Case
                    Joni19-11258-KHK
                                  J              Doc 1        Filed
                                                               Johnson04/18/19 Entered 04/18/19
                                                                                             Case16:09:21
                                                                                                  number (if known)Desc Main
                      First Name          Middle Name        Document
                                                                Last Name    Page 21 of 87

 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 USAA 4025                                                             $400.00
                                                                                  ❑                 $400.00                Va. Code Ann. § 34-4

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Capital one                                                           $116.53
                                                                                  ❑                 $116.53                Va. Code Ann. § 34-4

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 USAA 3435                                                             $100.00
                                                                                  ❑                 $100.00                Va. Code Ann. § 34-4

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Capital One                                                            $50.75
                                                                                  ❑                 $50.75                 Va. Code Ann. § 34-4

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Amex Personal Savings 4981                                             $30.64
                                                                                  ❑                 $30.64                 Va. Code Ann. § 34-4

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 USAA Custodial Account for Sydnee Johnson                                $1.61
                                                                                  ❑                  $1.61                 Va. Code Ann. § 34-4

 Edmonds 7799                                                                     ❑   100% of fair market value, up to
 Other financial account                                                              any applicable statutory limit

 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 USAA Custodial Account for Sydnee Johnson                                $0.01
                                                                                  ❑                  $0.01                 Va. Code Ann. § 34-4

 Edmonds 7772                                                                     ❑   100% of fair market value, up to
 Other financial account                                                              any applicable statutory limit

 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 USAA Custodial Account for Avery Johnson Edmonds                         $0.01
                                                                                  ❑                  $0.01                 Va. Code Ann. § 34-4

 Other financial account                                                          ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                 page 3 of 5
 Debtor 1        Case
                    Joni19-11258-KHK
                                  J              Doc 1        Filed
                                                               Johnson04/18/19 Entered 04/18/19
                                                                                             Case16:09:21
                                                                                                  number (if known)Desc Main
                      First Name          Middle Name        Document
                                                                Last Name    Page 22 of 87

 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 USAA Custodial Account for Avery Johnson Edmonds                         $3.39
                                                                                  ❑                  $3.39                 Va. Code Ann. § 34-4

 2076                                                                             ❑   100% of fair market value, up to
 Other financial account                                                              any applicable statutory limit

 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Bank of America Business Account (Overdrawn Bank                   ($3,032.84)
                                                                                  ❑                  $1.00                 Va. Code Ann. § 34-4

 Account)                                                                         ❑   100% of fair market value, up to
 Checking account                                                                     any applicable statutory limit

 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Digit                                                                 $300.00
                                                                                  ❑                  $0.00                 Va. Code Ann. § 34-4

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 USAA Checking joint with daughter                                   $1,433.00
                                                                                  ❑                  $1.00                 Va. Code Ann. § 34-4

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 USAA Checking joint with daughter                                      $41.00
                                                                                  ❑                  $1.00                 Va. Code Ann. § 34-4

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 My Blue Eyes                                                           $20.00
                                                                                  ❑                  $0.00                 Va. Code Ann. § 34-4
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        26


                                                                                  ✔
 Brief description:
 2018 Projected Tax Refund (Come & Gone)                                  $1.00
                                                                                  ❑                  $0.00                 Va. Code Ann. § 34-4

 Federal tax                                                                      ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        28


                                                                                  ✔
 Brief description:
 2018 Projected Tax Refund (Come & Gone)                                  $1.00
                                                                                  ❑                  $0.00                 Va. Code Ann. § 34-4

 State tax                                                                        ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        28




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                 page 4 of 5
 Debtor 1        Case
                    Joni19-11258-KHK
                                  J                Doc 1       Filed
                                                                Johnson04/18/19 Entered 04/18/19
                                                                                              Case16:09:21
                                                                                                   number (if known)Desc Main
                      First Name           Middle Name        Document
                                                                 Last Name    Page 23 of 87

 Part 2: Additional Page

 Brief description of the property and line on           Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                   portion you own
                                                         Copy the value from       Check only one box for each exemption.
                                                         Schedule A/B

                                                                                   ✔
 Brief description:
 SGLI Term Life                                                            $1.00
                                                                                   ❑                  $1.00                 Va. Code Ann. §§ 38.2-3339
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          31


                                                                                   ✔
 Brief description:
 AXA Equitable Term Life                                                   $1.00
                                                                                   ❑                  $1.00                 Va. Code Ann. §§ 38.2-3339
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          31


                                                                                   ✔
 Brief description:
 Inchoate Inheritance                                                      $1.00
                                                                                   ❑                  $0.00                 Va. Code Ann. § 34-4
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          32


                                                                                   ✔
 Brief description:
 Medical office Furniture supplies and equipment                      $9,500.00
                                                                                   ❑                $9,500.00               Va. Code Ann. § 34-26(7)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        40.1


                                                                                   ✔
 Brief description:
 Patient Medical records in storage unit                                   $1.00
                                                                                   ❑                  $0.00                 Va. Code Ann. § 34-4
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          44




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                  page 5 of 5
                  Case 19-11258-KHK
 Fill in this information to identify your case:
                                                             Doc 1         Filed 04/18/19 Entered 04/18/19 16:09:21                                             Desc Main
                                                                          Document      Page 24 of 87
  Debtor 1                       Joni                    J                     Johnson
                                 First Name          Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)            First Name          Middle Name              Last Name

  United States Bankruptcy Court for the:                               Eastern District of Virginia

  Case number                                                                                                                                               ❑   Check if this is an
  (if known)                                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A                 Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim          Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the        that supports         portion
                                                                                                                            value of collateral.     this claim            If any
 2.1 Austin Ridge HOA                                        Describe the property that secures the claim:                               $73.10                    $0.00               $73.10
        Creditor's Name
         Po Box 60845
        Number          Street
         Phoenix, AZ 85082-0845                              As of the date you file, the claim is: Check all that apply.
        City                        State     ZIP Code       ✔ Contingent
                                                             ❑
        Who owes the debt? Check one.                        ❑Unliquidated
        ✔ Debtor 1 only
        ❑                                                    ❑Disputed
        ❑Debtor 2 only                                       Nature of lien. Check all that apply.
        ❑Debtor 1 and Debtor 2 only                          ✔An agreement you made (such as mortgage or
                                                             ❑
        ❑At least one of the debtors and another                secured car loan)
        ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
           community debt
                                                             ❑Judgment lien from a lawsuit
        Date debt was incurred                               ❑Other (including a right to offset)
                                                             Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                                                    $73.10




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
 Debtor 1      Case
                  Joni19-11258-KHK
                                J                  Doc 1          Filed
                                                                   Johnson04/18/19 Entered 04/18/19
                                                                                                 Case16:09:21
                                                                                                      number (if known)Desc Main
                       First Name          Middle Name           Document
                                                                    Last Name    Page 25 of 87

                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Bank of America                                Describe the property that secures the claim:                         $284,923.00           $447,781.00                   $0.00
     Creditor's Name
                                                     50 Lafayette St Stafford, VA 22554-7699
      5109 S. Broadband Lane
     Number          Street
      Sioux Falls, SD 57109                         As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
                                                    Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $284,923.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                       $284,996.10
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                 Case 19-11258-KHK
 Fill in this information to identify your case:
                                                       Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                                        Desc Main
                                                                  Document      Page 26 of 87
  Debtor 1                   Joni                  J                   Johnson
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                                 ❑    Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total        Priority            Nonpriority
                                                                                                                                  claim        amount              amount

2.1      County of Fairfax                                                                                                                $63.25          $63.25            $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Dept. of Tax Administration
                                                                    As of the date you file, the claim is: Check all that
         PO Box 10203                                               apply.
        Number           Street                                     ✔ Contingent
                                                                    ❑
         Fairfax, VA 22035                                          ❑ Unliquidated
        City                               State   ZIP Code
                                                                    ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑
                                                                    Type of PRIORITY unsecured claim:
          Debtor 1 only
                                                                    ❑ Domestic support obligations
        ❑ Debtor 2 only                                             ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 1 and Debtor 2 only                                    government
        ❑ At least one of the debtors and another                   ❑ Claims for death or personal injury while you were
        ❑ Check if this claim is for a community debt                   intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ✔ No
        ❑
        ❑ Yes
2.2      IRS c/o Attorney Gen William Barr 3 of 3                                                                                          $1.00           $1.00            $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         10th St & Constitution Ave NW Rm 6313
        Number           Street
                                                                    As of the date you file, the claim is: Check all that
                                                                    apply.
         Washington, DC 20530                                       ✔ Contingent
                                                                    ❑
                                                                    ❑ Unliquidated
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ✔                                                           ❑ Disputed
        ❑ Debtor 1 only
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
        ❑                                                           ❑ Domestic support obligations
          Debtor 1 and Debtor 2 only
                                                                    ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ At least one of the debtors and another
        ❑
                                                                        government
          Check if this claim is for a community debt               ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ❑ Other. Specify
        ❑ Yes

Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 19
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                   Doc 1     Filed
                                                                   Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                 Case number (if known)
                       First Name             Middle Name        Document
                                                                    Last Name    Page 27 of 87


 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                   Total       Priority           Nonpriority
                                                                                                                           claim       amount             amount

2.3     IRS c/o US Attorney 2 of 3                                                                                                 $1.00          $1.00             $0.00
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
        2100 Jamieson Ave
       Number           Street                                    As of the date you file, the claim is: Check all that
                                                                  apply.
        Alexandria, VA 22314-5702
       City                              State     ZIP Code       ✔
                                                                  ❑   Contingent
       Who incurred the debt? Check one.                          ❑   Unliquidated
       ✔
       ❑      Debtor 1 only                                       ❑   Disputed
       ❑      Debtor 2 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 1 and Debtor 2 only                          ❑   Domestic support obligations
       ❑      At least one of the debtors and another             ✔
                                                                  ❑   Taxes and certain other debts you owe the
       ❑      Check if this claim is for a community debt
                                                                      government
                                                                  ❑   Claims for death or personal injury while you were
       Is the claim subject to offset?                                intoxicated
       ✔
       ❑      No                                                  ❑   Other. Specify
       ❑      Yes
2.4     IRS Centralized Insolvency OP 1 of 3                                                                                $49,000.00      $49,000.00              $0.00
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
        PO Box 7346
       Number           Street                                    As of the date you file, the claim is: Check all that
                                                                  apply.
        Philadelphia, PA 19101
       City                              State     ZIP Code       ✔
                                                                  ❑   Contingent
       Who incurred the debt? Check one.                          ❑   Unliquidated
       ✔
       ❑      Debtor 1 only                                       ❑   Disputed
       ❑      Debtor 2 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 1 and Debtor 2 only                          ❑   Domestic support obligations
       ❑      At least one of the debtors and another             ✔
                                                                  ❑   Taxes and certain other debts you owe the
       ❑      Check if this claim is for a community debt
                                                                      government
                                                                  ❑   Claims for death or personal injury while you were
       Is the claim subject to offset?                                intoxicated
       ✔
       ❑      No                                                  ❑   Other. Specify
       ❑      Yes
2.5     IRS Centralized Insolvency OP 1 of 3                                                                                $101,136.00     $101,136.00             $0.00
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
        Po Box 7436
       Number           Street                                    As of the date you file, the claim is: Check all that
                                                                  apply.
        Philadelphia, PA 19101-7436
       City                              State     ZIP Code       ✔
                                                                  ❑   Contingent
       Who incurred the debt? Check one.                          ❑   Unliquidated
       ✔
       ❑      Debtor 1 only                                       ❑   Disputed
       ❑      Debtor 2 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 1 and Debtor 2 only                          ❑   Domestic support obligations
       ❑      At least one of the debtors and another             ✔
                                                                  ❑   Taxes and certain other debts you owe the
       ❑      Check if this claim is for a community debt
                                                                      government
                                                                  ❑   Claims for death or personal injury while you were
       Is the claim subject to offset?                                intoxicated
       ✔
       ❑      No                                                  ❑   Other. Specify
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 2 of 19
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                   Doc 1     Filed
                                                                   Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                 Case number (if known)
                       First Name             Middle Name        Document
                                                                    Last Name    Page 28 of 87


 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                   Total     Priority           Nonpriority
                                                                                                                           claim     amount             amount

2.6     Stafford County                                                                                                        $887.24          $1.00          $886.24
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
        PO Box 68
       Number           Street                                    As of the date you file, the claim is: Check all that
                                                                  apply.
        Stafford, VA 22555
       City                              State     ZIP Code       ✔
                                                                  ❑   Contingent
       Who incurred the debt? Check one.                          ❑   Unliquidated
       ✔
       ❑      Debtor 1 only                                       ❑   Disputed
       ❑      Debtor 2 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 1 and Debtor 2 only                          ❑   Domestic support obligations
       ❑      At least one of the debtors and another             ✔
                                                                  ❑   Taxes and certain other debts you owe the
       ❑      Check if this claim is for a community debt
                                                                      government
                                                                  ❑   Claims for death or personal injury while you were
       Is the claim subject to offset?                                intoxicated
       ✔
       ❑      No                                                  ❑   Other. Specify
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3 of 19
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                   Doc 1        Filed
                                                                      Johnson04/18/19 Entered 04/18/19 16:09:21 Desc Main
                                                                                                    Case number (if known)
                       First Name              Middle Name          Document
                                                                       Last Name    Page 29 of 87
 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Advanced MD                                                                                                                                                        $767.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 413120
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84141                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes
4.2     AES/PHEAA                                                                                                                                                    $43,717.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        Po Box 61047
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Harrisburg, PA 17106-1047                                                 ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes
4.3     American Express                                                                                                                                              $7,539.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 981537
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        El Paso, TX 79998                                                         ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.4     The Palms Country Club and Resort Condominium                                                                                               $12,050.37
                                                                            Last 4 digits of account number
        Association Inc
       Nonpriority Creditor's Name                                          When was the debt incurred?
        Po Box 845189                                                       As of the date you file, the claim is: Check all that apply.
       Number           Street                                              ❑   Contingent
        Dallas, TX 75284-5189                                               ❑   Unliquidated
       City                              State     ZIP Code
                                                                            ❑   Disputed
       Who incurred the debt? Check one.
                                                                            Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only
                                                                            ❑   Student loans
       ❑      Debtor 2 only
                                                                            ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                       ❑   Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt
                                                                                similar debts
                                                                            ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.4     AMEX DEPT. Stores                                                                                                                                 $251.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 8218
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Mason, OH 45040                                                     ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.5     Bank of America                                                                                                                             $12,743.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5109 S. Broadband Lane
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57109                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.6     Bank of America                                                                                                                             $10,170.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5109 S. Broadband Lane
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57109                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.7     Bank of America                                                                                                                             $22,981.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5109 S. Broadband Lane
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57109                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.8     Bank of America                                                                                                                              $4,957.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5109 S. Broadband Lane
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57109                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.9     Bank of America                                                                                                                             $22,903.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5109 S. Broadband Lane
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57109                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.10    Beard and Associates LLC                                                                                                                     $1,850.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        3401 Rochester Rd A
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Royal Oak, MI 48073-2829                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.11    CBE/Dominion Energy VA                                                                                                                            $228.98
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 2547
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Waterloo, IA 50704                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.12    Cigna                                                                                                                                             $127.89
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 1259
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Oaks, PA 19456-1259                                                 ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.13    Citi Cards/Costco                                                                                                                            $9,224.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 9001016
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Louisville, KY 40290-1016                                           ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.14    Comcast                                                                                                                                      $1,367.79
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 70219
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Baltimore, MD 19176                                                 ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.15    County of Fairfax                                                                                                                                  $63.75
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 10202
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fairfax, VA 22035                                                   ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.16    Courthouse Square LLC                                                                                                                       $11,473.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        2124 Jefferson Davis Hwy
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Stafford, VA 22554-7264                                             ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.17    Dominion Energy Virginia                                                                                                                          $228.98
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 26543
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Richmond, VA 23290                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.18    Dominion Energy Virginia                                                                                                                         $664.03
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 26543
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Richmond, VA 23290                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.19    DSNB/Macys                                                                                                                                       $290.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 8218
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Mason, OH 45040-8218                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.20    Fire safety Systems                                                                                                                              $125.75
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 944
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fredericksbrg, VA 22404-0944                                        ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.21    Hanover Insurance Group                                                                                                                          $606.75
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 580045
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Charlotte, NC 28258-0045                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.22    Kohls/Cap One                                                                                                                                $1,032.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        N56 W 17000 Ridgewood Dr
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Menomonee Falls, WI 53051                                           ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.23    Leftwich, Francis                                                                                                                                $800.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        112 Mount Perry Dr
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Stafford, VA 22554-4865                                             ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Copays to the Practice
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.24    Mary Washington Healthcare/ODC Recovery                                                                                                          $591.50
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        2300 Fall Hill Ave Ste 314
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.25    Mary Washington Hospital                                                                                                                         $600.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        1001 Sam Perry Blvd
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.26    Medical Imaging of Fredericksburg                                                                                                                $591.50
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        1201 Sam Perry Blvd 102
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medicals
       ❑      Yes




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4.27    Nordstrom/TD Bank                                                                                                                                $572.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 13589
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Scottsdale, AZ 85267                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.28    Pearson                                                                                                                                      $8,826.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        221 River St
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Hoboken, NJ 07030-5989                                              ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.29    Pentagon Federal Credit Union                                                                                                                    $876.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        1001 N. Fairfax St.
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Alexandria, VA 22314                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.30    PermaTreat Pest Control                                                                                                                          $152.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 8260
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fredericksbrg, VA 22404-8260                                        ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.31    Peterson, Robyn                                                                                                                             $37,198.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Was Co signed for something with Daughter

       ❑      Yes
4.32    Sears                                                                                                                                            $807.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 6268
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57117                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.33    Stafford County GDC                                                 Last 4 digits of account number 0-00                                           $1.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        1300 Courthouse Rd.
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Stafford, VA 22555
                                                                            ✔
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Collection-Courthouse Square, LLC
       ❑      Yes
4.34    Stafford County Treasurer                                                                                                                        $334.92
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 68
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Stafford, VA 22555-0068                                             ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.35    Stafford County Treasurer                                                                                                                    unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        1300 Courthouse Rd. 2nd Flr
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Stafford, VA 22554                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.36    Staples-C/CBNA                                                                                                                               $1,320.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 6497
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57117-6497                                          ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.37    Street shares                                                                                                                               $32,927.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        1900 Campus Commons Dr Ste 200
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Reston, VA 20191-1566                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.38    Suntrust                                                                                                                                         $873.38
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 79079
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Baltimore, MD 21279                                                 ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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4.39    SunTrust Bank                                                                                                                                $4,068.76
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 4997
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Richmond, VA 32802                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.40    The Hartford Billing Company                                                                                                                 $1,150.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 660916
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75266-0916                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.41    The Hartford Billing Company                                                                                                                 $1,306.63
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 660916
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75266-0916                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                     page 17 of 19
                   Case 19-11258-KHK                    Doc 1     Filed 04/18/19 Entered 04/18/19 16:09:21 Desc Main
 Debtor 1              Joni                  J                   Document
                                                                   Johnson     Page 43 of 87   Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.42    TSYS                                                                                                                                             $190.13
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 3190
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Omaha, NE 68103-0190                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Collection
       ❑      Yes
4.43    Virginia Premier                                                                                                                                 $204.93
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 4369
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Richmond, VA 23220-8369                                             ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                     page 18 of 19
                Case 19-11258-KHK                        Doc 1    Filed 04/18/19 Entered 04/18/19 16:09:21 Desc Main
 Debtor 1              Joni                 J                    Document
                                                                   Johnson     Page 44 of 87   Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                        $151,088.49
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                         $151,088.49




                                                                                            Total claim


                   6f. Student loans                                              6f.                              $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                    $258,752.04
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                         $258,752.04




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       page 19 of 19
                    Case 19-11258-KHK
 Fill in this information to identify your case:
                                                         Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                                     Desc Main
                                                                    Document      Page 45 of 87
     Debtor 1                   Joni                 J                  Johnson
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Eastern District of Virginia

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                                 State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                      Case 19-11258-KHK
 Fill in this information to identify your case:
                                                              Doc 1        Filed 04/18/19 Entered 04/18/19 16:09:21                                Desc Main
                                                                          Document      Page 46 of 87
  Debtor 1                        Joni                    J                   Johnson
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                Eastern District of Virginia

  Case number                                                                                                                                ❑     Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
3.1                                                                                                              ❑Schedule D, line
      Name
                                                                                                                 ❑Schedule E/F, line
      Number          Street                                                                                     ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                                Schedule H: Your Codebtors                                                             page 1 of 1
                 Case 19-11258-KHK
 Fill in this information to identify your case:
                                                       Doc 1         Filed 04/18/19 Entered 04/18/19 16:09:21                                  Desc Main
                                                                    Document      Page 47 of 87
  Debtor 1                   Joni                  J                  Johnson
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Eastern District of Virginia                                    ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                           Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                  Housecalls Physician
     employers.
                                               Employer's name             Signify Health
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          4055 Valley View Ln
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                           Dallas, TX 75244-5074
                                                                            City                     State    Zip Code         City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $3,748.88                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $3,748.88                      $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                   page 1
 Debtor 1          Case
                      Joni19-11258-KHK
                                    J                                    Doc 1             Filed
                                                                                            Johnson04/18/19 Entered 04/18/19
                                                                                                                          Case16:09:21
                                                                                                                               number (if known)Desc Main
                            First Name                      Middle Name                   Document
                                                                                             Last Name    Page 48 of 87

                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $3,748.88                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $389.76                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $389.76                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,359.12                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify: Military Disability                                                           8h.   +         $2,340.81       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $2,340.81                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $5,699.93   +                $0.00        =       $5,699.93

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $5,699.93
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                 Case 19-11258-KHK
 Fill in this information to identify your case:
                                                          Doc 1          Filed 04/18/19 Entered 04/18/19 16:09:21                              Desc Main
                                                                        Document      Page 49 of 87
  Debtor 1                   Joni                     J                      Johnson
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                             Eastern District of Virginia

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Child                               16                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                          Child                               14                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                          Child                               26                  ✔ No. ❑Yes.
                                                                                                                                                  ❑
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                     $2,142.08


     If not included in line 4:
                                                                                                                                   4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                        $6.10
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                      $150.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                      $178.08
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1           Case
                       Joni19-11258-KHK
                                     J                 Doc 1        Filed
                                                                     Johnson04/18/19 Entered 04/18/19
                                                                                                   Case16:09:21
                                                                                                        number (if known)Desc Main
                       First Name             Middle Name          Document
                                                                      Last Name    Page 50 of 87
                                                                                                                    Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                            5.                 $1,037.34

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                    $311.38

       6b. Water, sewer, garbage collection                                                                  6b.                    $115.49

       6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    $523.63

       6d. Other. Specify:                                                                                   6d.                      $0.00

 7.    Food and housekeeping supplies                                                                        7.                     $800.00

 8.    Childcare and children’s education costs                                                              8.                       $0.00

 9.    Clothing, laundry, and dry cleaning                                                                   9.                     $225.00

 10. Personal care products and services                                                                     10.                    $450.00

 11.   Medical and dental expenses                                                                           11.                    $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.                    $570.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    $175.00

 14. Charitable contributions and religious donations                                                        14.                      $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                             15a.                    $29.00
       15a. Life insurance
                                                                                                             15b.                    $42.83
       15b. Health insurance
                                                                                                             15c.                   $210.62
       15c. Vehicle insurance
                                                                                                             15d.                    $85.80
       15d. Other insurance. Specify:                      Car taxes

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                              16.                $1,050.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.

       17b. Car payments for Vehicle 2                                                                       17b.

       17c. Other. Specify:                                                                                  17c.

       17d. Other. Specify:                                                                                  17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                              19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.                     $0.00

       20b. Real estate taxes                                                                                20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                     20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                      20e.                     $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                     page 2
 Debtor 1      Case
                  Joni19-11258-KHK
                                J                    Doc 1       Filed
                                                                  Johnson04/18/19 Entered 04/18/19
                                                                                                Case16:09:21
                                                                                                     number (if known)Desc Main
                       First Name           Middle Name         Document
                                                                   Last Name    Page 51 of 87

 21. Other. Specify:                     See Additional Page                                                21.    +       $1,386.95

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.          $9,689.30

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.              $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.          $9,689.30


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.          $5,699.93

      23b. Copy your monthly expenses from line 22c above.                                                  23b.   –       $9,689.30

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                            23c.         ($3,989.37)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑No.           Explain here:
      ✔Yes.
      ❑              Ongoing Medical Issues




Official Form 106J                                                             Schedule J: Your Expenses                               page 3
 Debtor 1      Case
                  Joni19-11258-KHK
                                J             Doc 1    Filed
                                                        Johnson04/18/19 Entered 04/18/19
                                                                                      Case16:09:21
                                                                                           number (if known)Desc Main
                     First Name        Middle Name    Document
                                                         Last Name    Page 52 of 87



                                                                                                                        Amount


   21. Other
       Support to Mother Gwendolyn Johnson                                                                                $36.95
       Rent                                                                                                             $1,350.00




Official Form 106J                                        Schedule J: Your Expenses                                          page 4
                   Case 19-11258-KHK
 Fill in this information to identify your case:
                                                                       Doc 1           Filed 04/18/19 Entered 04/18/19 16:09:21                                                            Desc Main
                                                                                      Document      Page 53 of 87
  Debtor 1                         Joni                          J                           Johnson
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Eastern District of Virginia

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $447,782.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $17,559.10


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $465,341.10



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $284,996.10

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                            $151,088.49
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $258,752.04


                                                                                                                                                                  Your total liabilities                    $694,836.63

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $5,699.93


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $9,689.30




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
 Debtor 1       Case
                   Joni19-11258-KHK
                                 J                     Doc 1       Filed
                                                                    Johnson04/18/19 Entered 04/18/19
                                                                                                  Case16:09:21
                                                                                                       number (if known)Desc Main
                      First Name             Middle Name          Document
                                                                     Last Name    Page 54 of 87

 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information              page 2 of 2
                 Case 19-11258-KHK
 Fill in this information to identify your case:
                                                       Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                                  Desc Main
                                                                  Document      Page 55 of 87
  Debtor 1                   Joni                  J                  Johnson
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                  12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                         (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Joni J Johnson
        Joni J Johnson, Debtor 1                                         ✘
        Date 04/18/2019                                                      Date
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 19-11258-KHK                       Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                                   Desc Main
                                                                     Document      Page 56 of 87
 Fill in this information to identify your case:

  Debtor 1                   Joni                  J                   Johnson
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Eastern District of Virginia

  Case number                                                                                                                           ❑   Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                            Dates Debtor 2 lived
                                                               there                                                                          there


                                                                                       ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                             From                                                                           From
    Number      Street                                                                     Number     Street
                                                             To                                                                             To



    City                               State ZIP Code                                      City                        State ZIP Code




                                                                                       ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                             From                                                                           From
    Number      Street                                                                     Number     Street
                                                             To                                                                             To



    City                               State ZIP Code                                      City                        State ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                Case 19-11258-KHK                      Doc 1         Filed 04/18/19 Entered 04/18/19 16:09:21                                      Desc Main
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Debtor 1            Joni                 J                        Johnson                                             Case number (if known)
                    First Name           Middle Name               Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
    date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2018          )         bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2017          )         bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Military Disability                       $28,080.00
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
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Debtor 1            Joni                  J                          Johnson                                             Case number (if known)
                    First Name               Middle Name              Last Name


    For last calendar year:                            Military Disability                      $16,679.00       Draws from PP4AL                            $8,750.00
    (January 1 to December 31, 2018           )
                                      YYYY



    For the calendar year before that:                 Military Disability                      $62,912.00
    (January 1 to December 31, 2017           )
                                      YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

              ❑No. Go to line 7.
              ✔Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
              ❑
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                           payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑Yes.     Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                                Dates of          Total amount paid            Amount you still owe          Was this payment for…
                                                                payment

                                                                                                                                            ❑Mortgage
             IRS                                                                               $3,150.00                            $0.00
             Creditor's Name                                                                                                                ❑Car
             Department of Treasury                                                                                                         ❑Credit card
             4241 NE 34th St                                                                                                                ❑Loan repayment
             Number        Street                                                                                                           ❑Suppliers or vendors
             Kansas City, MO 64117                                                                                                          ✔Other
                                                                                                                                            ❑
             City                    State        ZIP Code


                                                                                                                                            ❑Mortgage
             Beard and Associates LLC                          3/28/2019                       $2,200.00                            $0.00
             Creditor's Name                                                                                                                ❑Car
             3401 Rochester Rd A                                                                                                            ❑Credit card
             Number        Street
                                                                                                                                            ❑Loan repayment
             Royal Oak, MI 48073-2829                                                                                                       ❑Suppliers or vendors
             City                    State        ZIP Code
                                                                                                                                                     2018 Tax
                                                                                                                                            ✔Other
                                                                                                                                            ❑        Preparation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
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Debtor 1            Joni                J                         Johnson                                         Case number (if known)
                    First Name              Middle Name           Last Name

                                                            Dates of            Total amount paid         Amount you still owe       Was this payment for…
                                                            payment

                                                                                                                                    ❑Mortgage
             Transfer to American Express Personal          03/28/2019                      $3,000.00                       $0.00
             Savings                                                                                                                ❑Car
             Creditor's Name                                                                                                        ❑Credit card
                                                                                                                                    ❑Loan repayment
             Number        Street
                                                                                                                                    ❑Suppliers or vendors
                                                                                                                                    ✔Other
                                                                                                                                    ❑
             City                   State      ZIP Code


                                                                                                                                    ❑Mortgage
             PFCU                                           03/29/2019                       $880.00                        $0.00
             Creditor's Name                                                                                                        ❑Car
                                                                                                                                    ❑Credit card
             Number        Street                                                                                                   ❑Loan repayment
                                                                                                                                    ❑Suppliers or vendors
             City                   State      ZIP Code                                                                                    Pay off Car
                                                                                                                                           Loan (2011
                                                                                                                                    ✔Other Nissan Sentra)
                                                                                                                                    ❑

                                                                                                                                    ❑Mortgage
             IRS                                            04/01/2019                     $34,377.23                       $0.00
             Creditor's Name                                                                                                        ❑Car
                                                                                                                                    ❑Credit card
             Number        Street                                                                                                   ❑Loan repayment
                                                                                                                                    ❑Suppliers or vendors
             City                   State      ZIP Code                                                                                      IRS Trust Fund
                                                                                                                                    ✔Other
                                                                                                                                    ❑        Tax Debt


                                                                                                                                    ❑Mortgage
             Townhouse Improvement Fees                     04/01/2019                      $2,600.00                       $0.00
             Creditor's Name                                                                                                        ❑Car
                                                                                                                                    ❑Credit card
             Number        Street                                                                                                   ❑Loan repayment
                                                                                                                                    ❑Suppliers or vendors
             City                   State      ZIP Code                                                                                    Tenant returned
                                                                                                                                           security deposit
                                                                                                                                           used for
                                                                                                                                           townhouse
                                                                                                                                           improvement
                                                                                                                                    ✔Other fees.
                                                                                                                                    ❑

                                                                                                                                    ❑Mortgage
             Medical Mutual Malpractice Tail                04/01/2019                     $15,738.00                       $0.00
             Coverage                                                                                                               ❑Car
             Creditor's Name                                                                                                        ❑Credit card
                                                                                                                                    ❑Loan repayment
             Number        Street
                                                                                                                                    ❑Suppliers or vendors
                                                                                                                                             Malpractice
             City                   State      ZIP Code                                                                             ✔Other
                                                                                                                                    ❑        Ins.




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                Case 19-11258-KHK                        Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                                       Desc Main
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Debtor 1            Joni                 J                        Johnson                                             Case number (if known)
                    First Name            Middle Name               Last Name



  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ❑No
    ✔Yes. List all payments to an insider.
    ❑
                                                         Dates of               Total amount paid    Amount you still owe      Reason for this payment
                                                         payment


     Robyn Peterson                                                                  $6,500.00                    $0.00
    Insider's Name


    Number      Street

     ,
    City                         State   ZIP Code



     Eric Johnson                                                                        $0.00                $5,700.00
    Insider's Name


    Number      Street

     ,
    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                         Dates of               Total amount paid    Amount you still owe      Reason for this payment
                                                         payment                                                               Include creditor’s name



    Insider's Name


    Number      Street




    City                         State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 5
                 Case 19-11258-KHK                       Doc 1        Filed 04/18/19 Entered 04/18/19 16:09:21                                        Desc Main
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Debtor 1            Joni                   J                       Johnson                                              Case number (if known)
                    First Name             Middle Name              Last Name
 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                      Nature of the case                         Court or agency                                  Status of the case

    Case title        Courthouse Square LLC v                                                   Stafford County GDC                              ✔Pending
                                                                                                                                                 ❑
                      Joni Johnson
                                                                                                                                                 ❑On appeal
                                                                                               Court Name

                                                                                                                                                 ❑Concluded
    Case number GV19000340-00                                                                   1300 Courthouse Rd.
                                                                                               Number       Street
                                                                                                Stafford, VA 22555
                                                                                               City                       State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                      Date                 Value of the property



    Creditor’s Name


    Number       Street                                             Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                            Date action was      Amount
                                                                                                                             taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 6
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Debtor 1            Joni                   J                       Johnson                                           Case number (if known)
                    First Name             Middle Name             Last Name



  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ❑No
    ✔Yes. Fill in the details for each gift.
    ❑
     Gifts with a total value of more than $600 per        Describe the gifts                                            Dates you gave       Value
     person                                                                                                              the gifts
                                                          Gifted money to daughter to pay back payments on daycare for
     Peterson, Robyn                                      child and to pay bills.                                        2018                         $3,500.00
    Person to Whom You Gave the Gift




    Number      Street


     ,
    City                           State   ZIP Code

    Person’s relationship to you

     Gifts with a total value of more than $600 per        Describe the gifts                                            Dates you gave       Value
     person                                                                                                              the gifts
                                                          Brother employee of company and money was given to him as
     Brother                                              payments for work performed for company.                       2018                         $5,700.00
    Person to Whom You Gave the Gift




    Number      Street


     ,
    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




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Debtor 1             Joni               J                         Johnson                                        Case number (if known)
                     First Name          Middle Name              Last Name

     Gifts or contributions to charities that     Describe what you contributed                                 Date you               Value
     total more than $600                                                                                       contributed



    Charity’s Name




    Number     Street



    City                    State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                   Date of your loss       Value of property lost
     how the loss occurred                     Include the amount that insurance has paid. List pending
                                               insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                  Description and value of any property transferred             Date payment or        Amount of payment
     Law Offices Of Robert Weed                                                                                 transfer was made
    Person Who Was Paid                          Attorney’s Fee
                                                                                                               4/8/2019                             $3,285.00
     1376 Old Bridge Rd. Ste 101-4
    Number     Street




    Woodbridge, VA 22192
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
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Debtor 1            Joni                J                      Johnson                                            Case number (if known)
                    First Name          Middle Name             Last Name

                                               Description and value of any property transferred                Date payment or           Amount of payment
     -, Moneysharp Credit Counseling                                                                            transfer was made
    Person Who Was Paid
                                                                                                               04/10/2019                              $20.00
    Number     Street




     ,
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of any property transferred                Date payment or           Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made
                                              Sold Office Furniture                        2000 ; Money has already been used for bills
    Person Who Received Transfer


    Number     Street


     ,
    City                   State   ZIP Code


    Person's relationship to you




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Debtor 1            Joni                 J                      Johnson                                           Case number (if known)
                    First Name           Middle Name            Last Name

                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made
                                               Sold 600 Backridge Ct., Stafford, VA        $60,307.33 used money to pay bills.
     Interest & Strangers                                                                                                                    March 25, 2019
    Person Who Received Transfer


    Number      Street


     ,
    City                    State   ZIP Code


    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Last 4 digits of account number          Type of account or        Date account was            Last balance
                                                                                         instrument                closed, sold, moved, or     before closing or
                                                                                                                   transferred                 transfer

     Navy Federal Credit Union
                                                                                                                     6/1/18                           $150.00
                                                                                       ❑Checking
    Name of Financial Institution
                                                XXXX–
     PO Box 3700                                                                       ❑Savings
    Number      Street
                                                                                       ❑Money market
                                                                                       ❑Brokerage
                                                                                                 Business
     Merrifield, VA 22119                                                              ✔Other
                                                                                       ❑         Account
    City                    State   ZIP Code




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                    First Name              Middle Name             Last Name

                                                   Last 4 digits of account number              Type of account or       Date account was          Last balance
                                                                                                instrument               closed, sold, moved, or   before closing or
                                                                                                                         transferred               transfer

     PNC
                                                                                                                          6/1/18                          $175.00
                                                                                               ❑Checking
    Name of Financial Institution
                                                   XXXX–
     POB 3180                                                                                  ❑Savings
    Number      Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                                         Business
     Pittsburgh, PA 15230                                                                      ✔Other
                                                                                               ❑         Account
    City                    State      ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                       Who else had access to it?                       Describe the contents                      Do you still have
                                                                                                                                                   it?

                                                                                                                                                   ❑No
    Name of Financial Institution                  Name
                                                                                                                                                   ❑Yes

    Number      Street                             Number       Street



                                                   City                   State     ZIP Code

    City                    State      ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                       Who else has or had access to it?                Describe the contents                      Do you still have
                                                                                                                                                   it?

                                                                                                                                                   ✔ No
                                                                                                      Medical Records
     Extra Space                                                                                                                                   ❑
                                                                                                                                                   ❑Yes
    Name of Storage Facility                       Name

     10 Sousa Dr.
    Number      Street
                                                   Number       Street


                                                   ,
                                                   City                    State     ZIP Code
     Stafford, VA 22554
    City                       State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 11
                   Case 19-11258-KHK                      Doc 1         Filed 04/18/19 Entered 04/18/19 16:09:21                                        Desc Main
                                                                       Document      Page 67 of 87
Debtor 1            Joni                  J                        Johnson                                               Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 12
                   Case 19-11258-KHK                       Doc 1           Filed 04/18/19 Entered 04/18/19 16:09:21                                  Desc Main
                                                                          Document      Page 68 of 87
Debtor 1             Joni                   J                         Johnson                                              Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                      Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                     Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                      Describe the nature of the business                          Employer Identification number
     Pediatric Partners for Attention and                                                                          Do not include Social Security number or ITIN.
     Learning INC
                                                     Medical Practice
    Name                                                                                                            EIN:   4   5 – 5    4   8   7   8    2   1

     2128 Jefferson Davis Hwy
    Number        Street                                                                                           Dates business existed
                                                      Name of accountant or bookkeeper

                                                                                                                    From 11/1/2012       To 1/25/2019
     Stafford, VA 22554-7293
    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 13
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Debtor 1            Joni                J                      Johnson                                           Case number (if known)
                    First Name           Middle Name            Last Name

                                                 Describe the nature of the business                     Employer Identification number
     CogSolid Athletics LLC.                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                          EIN:    4   7 – 1     2     6   5   8   7   1
     2128 Jefferson Davis Hwy
    Number      Street
                                                 Name of accountant or bookkeeper                        Dates business existed

                                                                                                          From 7/4/2014          To 1/1/2018
     Stafford, VA 22554-7293
    City                   State   ZIP Code

                                                 Describe the nature of the business                     Employer Identification number
     Partners for attention and learning - BH                                                            Do not include Social Security number or ITIN.
     LLC
                                                Behavioral Health Practice
    Name                                                                                                  EIN:    4   7 – 3     4     5   0   5   5   1

     2128 Jefferson Davis Hwy
    Number      Street                                                                                   Dates business existed
                                                 Name of accountant or bookkeeper

                                                                                                          From 2/18/15           To 1/1/18
     Stafford, VA 22554-7293
    City                   State   ZIP Code

                                                 Describe the nature of the business                     Employer Identification number
     Prism Potential                                                                                     Do not include Social Security number or ITIN.
    Name
                                                Non-Profit
                                                                                                          EIN:    4   6 – 2     3     8   3   8   6   3
     50 Lafayette St
    Number      Street
                                                 Name of accountant or bookkeeper                        Dates business existed


     Stafford, VA 22554-7699                                                                              From 3/20/2013         To
    City                   State   ZIP Code

                                                 Describe the nature of the business                     Employer Identification number
     J Johnson Consulting Group LLC                                                                      Do not include Social Security number or ITIN.
    Name
                                                                                                          EIN:    8   3 – 1     5     5   2   8   6   4
     50 Lafayette St
    Number      Street
                                                 Name of accountant or bookkeeper                        Dates business existed


     Stafford, VA 22554-7699                                                                              From 8/13/18           To
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 14
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Debtor 1            Joni                  J                          Johnson                                   Case number (if known)
                    First Name             Middle Name               Last Name

                                                     Date issued



    Name                                            MM / DD / YYYY



    Number       Street




    City                     State   ZIP Code




 Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘                          /s/ Joni J Johnson                          ✘
           Signature of Joni J Johnson, Debtor 1                                 Signature of


           Date 04/18/2019                                                       Date




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                      Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                 Case 19-11258-KHK
 Fill in this information to identify your case:
                                                       Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                                Desc Main
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  Debtor 1                   Joni                  J                  Johnson
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                     ❑ No
    name:                 Bank of America
                                                                            ❑ Retain the property and redeem it.                          ✔ Yes
                                                                                                                                          ❑
    Description of
    property
                          50 Lafayette St Stafford, VA 22554-7699
                                                                            ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                            ✔ Retain the property and [explain]:
    securing debt:
                                                                            ❑
                                                                                   will pay through August while on active duty then
                                                                                   surrender to Trustee.

    Creditor’s                                                              ❑ Surrender the property.                                     ✔ No
                                                                                                                                          ❑
    name:                 Austin Ridge HOA
                                                                            ❑ Retain the property and redeem it.                          ❑ Yes
    Description of                                                          ✔ Retain the property and enter into a
                                                                            ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                            ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1      Case
                  Joni19-11258-KHK
                                J                   Doc 1      Filed
                                                                Johnson04/18/19 Entered 04/18/19
                                                                                              Case16:09:21
                                                                                                   number (if known)Desc Main
                      First Name             Middle Name      Document
                                                                 Last Name    Page 72 of 87

 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                       /s/ Joni J Johnson                        ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 04/18/2019                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
          Case 19-11258-KHK                         Doc 1         Filed 04/18/19 Entered 04/18/19 16:09:21                                     Desc Main
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                                                                 Document      Page 73 of 87

                                                    United States Bankruptcy Court
                                                                    Eastern District of Virginia

In re
Johnson, Joni J                                                                                                         Case No.
Debtor(s)                                                                                                               Chapter         7


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $3,285.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $3,285.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         04/18/2019                                       /s/ Robert R. Weed
                         Date                                                 Signature of Attorney

                                                                          Law Offices Of Robert Weed
                                                                             Name of law firm
                  Case 19-11258-KHK
 Fill in this information to identify your case:
                                                            Doc 1       Filed 04/18/19 Entered 04/18/19 16:09:21                               Desc Main
                                                                       Document      Page 74 of 87
  Debtor 1                     Joni                     J                  Johnson
                               First Name               Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)          First Name               Middle Name        Last Name

  United States Bankruptcy Court for the:                             Eastern District of Virginia

  Case number
  (if known)                                                                                                                ❑ Check if this is an amended filing

Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                      12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies to only
one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal, family, or
         household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form 101).
           ✔ No.
           ❑         Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                     supplement with the signed Form 122A-1.
           ❑Yes.        Go to Part 2.



 Part 2: Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑No. Go to line 3.
           ❑Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑No. Go to line 3.
                        ❑Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                                 submit this supplement with the signed Form 122A-1.


      3. Are you or have you been a Reservist or member of the National Guard?
           ❑No. Complete Form 122A-1. Do not submit this supplement.
           ❑Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
            ❑No. Complete Form 122A-1. Do not submit this supplement.
            ❑Yes. Check any one of the following categories that applies:
               ❑I was called to active duty after September 11, 2001, for at least 90 days and                  If you checked one of the categories to the left, go to Form
                                                                                                                122A-1. On the top of page 1 of Form 122A-1, check box 3,
                  remain on active duty.
                                                                                                                The Means Test does not apply now, and sign Part 3. Then
               ❑I was called to active duty after September 11, 2001, for at least 90 days and was              submit this supplement with the signed Form 122A-1. You are
                                                                                                                not required to fill out the rest of Official Form 122A-1 during
                  released from active duty on                         , which is fewer than 540 days           the exclusion period. The exclusion period means the time you
                  before I file this bankruptcy case.                                                           are on active duty or are performing a homeland defense
               ❑I am performing a homeland defense activity for at least 90 days.                               activity, and for 540 days afterward. 11 U.S.C. § 707(b)
                                                                                                                (2)(D)(ii).
               ❑I performed a homeland defense activity for at least 90 days, ending on
                                                                                                                If your exclusion period ends before your case is closed, you
                                        , which is fewer than 540 days before I file this bankruptcy
                                                                                                                may have to file an amended form later
                  case.




 Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                   page 1
                 Case 19-11258-KHK
 Fill in this information to identify your case:
                                                       Doc 1       Filed 04/18/19 Entered 04/18/19  16:09:21
                                                                                              Check one                Desc
                                                                                                        box only as directed     Main
                                                                                                                             in this form and in Form
                                                                  Document      Page 75 of 87 122A-1Supp:
  Debtor 1                   Joni
                             First Name
                                                   J
                                                   Middle Name
                                                                        Johnson
                                                                        Last Name
                                                                                                                      ✔1. There is no presumption of abuse.
                                                                                                                      ❑
  Debtor 2                                                                                                            ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)        First Name            Middle Name          Last Name                                        abuse applies will be made under Chapter 7 Means
                                                                                                                         Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number
                                                                                                                      ❑3. The Means Test does not apply now because of
  (if known)
                                                                                                                         qualified military service but it could apply later.


                                                                                                                      ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ❑Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                Column A                Column B
                                                                                                                Debtor 1                Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B is
    filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1          Debtor 2

      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses                     -                 -
                                                                                                       Copy
      Net monthly income from a business, profession, or farm                                          here →


 6. Net income from rental and other real property                       Debtor 1          Debtor 2

      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses                     -                 -
                                                                                                       Copy
      Net monthly income from rental or other real property                                            here →

       7. Interest, dividends, and royalties


 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 1
Debtor 1           Case
                      Joni19-11258-KHK
                                    J                                         Doc 1              Filed
                                                                                                  Johnson04/18/19 Entered 04/18/19
                                                                                                                                Case16:09:21
                                                                                                                                     number (if known)Desc Main
                            First Name                         Middle Name                      Document
                                                                                                   Last Name    Page 76 of 87
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................

           For your spouse......................................................................

       9. Pension or retirement income. Do not include any amount received that was a benefit
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +

       11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                                     +                  =
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                    Total current
                                                                                                                                                                                                   monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →
             Multiply by 12 (the number of months in a year).                                                                                                                                      X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household....................................................................................................           13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

   14a. ❑Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
         Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Joni J Johnson                                                                                             X
             Signature of Debtor 1                                                                                            Signature of Debtor 2

            Date            04/18/2019                                                                                       Date
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.

Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                           page 2
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                                                 IN THE      04/18/19
                                                        UNITED            Entered
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                                                                         OF VIRGINIA
                                                                  ALEXANDRIA DIVISION

IN RE: Johnson, Joni J                                                                       CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       04/18/2019              Signature                                      /s/ Joni J Johnson
                                                                                Joni J Johnson, Debtor
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                                Advanced MD
                                PO Box 413120
                                Salt Lake City, UT 84141




                                AES/PHEAA
                                Po Box 61047
                                Harrisburg, PA 17106-1047




                                American Express
                                PO Box 981537
                                El Paso, TX 79998




                                AMEX DEPT. Stores
                                PO Box 8218
                                Mason, OH 45040




                                Austin Ridge HOA
                                Po Box 60845
                                Phoenix, AZ 85082-0845




                                Bank of America
                                5109 S. Broadband Lane
                                Sioux Falls, SD 57109




                                Beard and Associates LLC
                                3401 Rochester Rd A
                                Royal Oak, MI 48073-2829




                                CBE/Dominion Energy VA
                                PO Box 2547
                                Waterloo, IA 50704
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                                Cigna
                                Po Box 1259
                                Oaks, PA 19456-1259




                                Citi Cards/Costco
                                Po Box 9001016
                                Louisville, KY 40290-1016




                                Comcast
                                PO Box 70219
                                Baltimore, MD 19176




                                County of Fairfax
                                PO Box 10202
                                Fairfax, VA 22035




                                County of Fairfax
                                Dept. of Tax Administration
                                PO Box 10203
                                Fairfax, VA 22035



                                Courthouse Square LLC
                                2124 Jefferson Davis Hwy
                                Stafford, VA 22554-7264




                                Dominion Energy Virginia
                                PO Box 26543
                                Richmond, VA 23290




                                DSNB/Macys
                                Po Box 8218
                                Mason, OH 45040-8218
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                                Fire safety Systems
                                Po Box 944
                                Fredericksbrg, VA 22404-0944




                                Hanover Insurance Group
                                Po Box 580045
                                Charlotte, NC 28258-0045




                                IRS c/o Attorney Gen William
                                Barr 3 of 3
                                10th St & Constitution Ave NW Rm 6313
                                Washington, DC 20530



                                IRS c/o US Attorney 2 of 3
                                2100 Jamieson Ave
                                Alexandria, VA 22314-5702




                                IRS Centralized Insolvency
                                OP 1 of 3
                                PO Box 7346
                                Philadelphia, PA 19101



                                IRS Centralized Insolvency
                                OP 1 of 3
                                Po Box 7436
                                Philadelphia, PA 19101-7436



                                Kohls/Cap One
                                N56 W 17000 Ridgewood Dr
                                Menomonee Falls, WI 53051




                                Francis Leftwich
                                112 Mount Perry Dr
                                Stafford, VA 22554-4865
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                                Mary Washington
                                Healthcare/ODC Recovery
                                2300 Fall Hill Ave Ste 314
                                Fredericksburg, VA 22401



                                Mary Washington Hospital
                                1001 Sam Perry Blvd
                                Fredericksburg, VA 22401




                                Medical Imaging of
                                Fredericksburg
                                1201 Sam Perry Blvd 102
                                Fredericksburg, VA 22401



                                Nordstrom/TD Bank
                                PO Box 13589
                                Scottsdale, AZ 85267




                                Pearson
                                221 River St
                                Hoboken, NJ 07030-5989




                                Pentagon Federal Credit
                                Union
                                1001 N. Fairfax St.
                                Alexandria, VA 22314



                                PermaTreat Pest Control
                                Po Box 8260
                                Fredericksbrg, VA 22404-8260




                                Robyn Peterson
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                                Sears
                                Po Box 6268
                                Sioux Falls, SD 57117




                                Stafford County
                                PO Box 68
                                Stafford, VA 22555




                                Stafford County GDC
                                1300 Courthouse Rd.
                                Stafford, VA 22555




                                Stafford County Treasurer
                                Po Box 68
                                Stafford, VA 22555-0068




                                Stafford County Treasurer
                                1300 Courthouse Rd. 2nd Flr
                                Stafford, VA 22554




                                Staples-C/CBNA
                                Po Box 6497
                                Sioux Falls, SD 57117-6497




                                Street shares
                                1900 Campus Commons Dr Ste 200
                                Reston, VA 20191-1566




                                Suntrust
                                PO Box 79079
                                Baltimore, MD 21279
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                                SunTrust Bank
                                PO Box 4997
                                Richmond, VA 32802




                                The Hartford Billing Company
                                Po Box 660916
                                Dallas, TX 75266-0916




                                The Palms Country Club and
                                Resort Condominium
                                Association Inc
                                Po Box 845189
                                Dallas, TX 75284-5189


                                TSYS
                                Po Box 3190
                                Omaha, NE 68103-0190




                                Virginia Premier
                                Po Box 4369
                                Richmond, VA 23220-8369
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                 Notice Required by 11 U.S.C.        Pagefor
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                 Individuals Filing for Bankruptcy (Form 2010)


                   This notice is for you if:                                            Chapter 7: Liquidation

                         You are an individual filing for                                                    $245      filing fee
                         bankruptcy, and                                                                         $75   administrative fee
                                                                                                    +            $15   trustee surcharge
                         Your debts are primarily consumer
                         debts.                                                                              $335      total fee
                         Consumer debts are defined in 11 U.S.C.
                         § 101(8) as “incurred by an individual                         Chapter 7 is for individuals who have
                         primarily for a personal, family, or                           financial difficulty preventing them from
                         household purpose.”                                            paying their debts and who are willing to
                                                                                        allow their non- exempt property to be used
                                                                                        to pay their creditors. The primary purpose
                                                                                        of filing under chapter 7 is to have your
                                                                                        debts discharged. The bankruptcy discharge
                 The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                 available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                        Exceptions exist for particular debts, and
                 Individuals who meet the qualifications may file                       liens on property may still be enforced after
                 under one of four different chapters of the                            discharge. For example, a creditor may
                 Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                        mortgage or repossess an automobile.
                         Chapter 7 — Liquidation
                                                                                        However, if the court finds that you have
                         Chapter 11— Reorganization                                     committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                         Chapter 12— Voluntary repayment plan                           may deny your discharge.
                                     for family farmers or
                                     fishermen                                           You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                         Chapter 13— Voluntary repayment plan                           not discharged under the law. Therefore, you
                                     for individuals with regular                       may still be responsible to pay:
                                     income
                                                                                                 most taxes;
                You should have an attorney review your                                          most student loans;
                decision to file for bankruptcy and the choice                                   most domestic support and property
                of                                                                               settlement obligations;
                 chapter.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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                                                                                your    85 of
                                                                                     income    87 than the median income for
                                                                                            is more
                         most fines, penalties, forfeitures, and
                                                                                         your state of residence and family size,
                         criminal restitution obligations; and
                                                                                        depending on the results of the Means Test, the
                         certain debts that are not listed in your
                                                                                        U.S. trustee, bankruptcy administrator, or
                         bankruptcy papers.                                             creditors can file a motion to dismiss your case
                 You may also be required to pay debts arising                          under § 707(b) of the Bankruptcy Code. If a
                 from:                                                                  motion is filed, the court will decide if your case
                                                                                        should be dismissed. To avoid dismissal, you
                         fraud or theft;
                                                                                        may choose to proceed under another chapter of
                         fraud or defalcation while acting in breach
                                                                                        the Bankruptcy Code.
                         of fiduciary capacity;
                         intentional injuries that you inflicted; and
                                                                                        If you are an individual filing for chapter 7
                         death or personal injury caused by
                                                                                        bankruptcy, the trustee may sell your property
                         operating a motor vehicle, vessel, or
                                                                                        to pay your debts, subject to your right to
                         aircraft while intoxicated from alcohol or
                                                                                        exempt the property or a portion of the proceeds
                         drugs.
                                                                                        from the sale of the property. The property, and
                                                                                        the proceeds from property that your
                 If your debts are primarily consumer debts, the
                                                                                        bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                        are entitled to, is called exempt property.
                 that you have enough income to repay creditors
                                                                                        Exemptions may enable you to keep your home,
                 a certain amount. You must file Chapter 7
                                                                                        a car, clothing, and household items or to
                 Statement of Your Current Monthly Income
                                                                                        receive some of the proceeds if the property is
                 (Official Form 122A–1) if you are an individual
                                                                                        sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                        Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                        property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                        Property You Claim as Exempt (Official Form
                                                                                        106C). If you do not list the property, the
                 If your income is not above the median for your
                                                                                        trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                        your creditors.
                 chapter 7 form, the Chapter 7 Means Test
                 Calculation (Official Form 122A–2).

                                                                                         Chapter 11: Reorganization
                 If your income is above the median for your
                 state, you must file a second form —the                                                    $1,167     filing fee
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                   +            $550   administrative fee
                 122A–2). The calculations on the form—
                 sometimes called the Means Test —deduct from                                               $1,717     total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                        Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. If                                         business, but is also available to individuals. The
                                                                                        provisions of chapter 11 are too complicated to
                                                                                        summarize briefly.




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                   Read These Important Warnings

                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your options
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. If you do file for bankruptcy, an attorney
                       can help you fill out the forms properly and protect you, your family, your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. If you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.

                       You should not file for bankruptcy if you are not eligible to file or if you do not intend to file
                       the necessary documents.

                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a
                  Chapter 12: Repayment plan for
                  family                                                                plan to repay your creditors all or part of the
                             farmers or fishermen                                       money that you owe them, usually using your
                                                                                        future earnings. If the court approves your plan,
                                      $200     filing fee                               the court will allow you to repay your debts, as
                             +          $75    administrative fee                       adjusted by the plan, within 3 years or 5 years,
                                                                                        depending on your income and other factors.
                                      $275     total fee
                                                                                        After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                       plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over                        debts that are not discharged and that you may
                 a period of time using future earnings and to                          still be responsible to pay include:
                 discharge some debts that are not paid.
                                                                                                 domestic support obligations,
                                                                                                 most student loans,
                  Chapter 13: Repayment plan for                                                 certain taxes,
                             individuals with regular                                            debts for fraud or theft,
                             income                                                              debts for fraud or defalcation while acting
                                                                                                 in a fiduciary capacity,
                                      $235     filing fee                                        most criminal fines and restitution
                             +          $75    administrative fee                                obligations,
                                                                                                 certain debts that are not listed in your
                                      $310     total fee
                                                                                                 bankruptcy papers,
                                                                                                 certain debts for acts that caused death
                 Chapter 13 is for individuals who have regular
                                                                                                 or
                 income and would like to pay all or part of their
                                                                                                 personal injury, and
                 debts in installments over a period of time and
                                                                                                 certain long-term secured debts
                 to discharge some debts that are not paid. You
                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. § 109.




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                   Warning: File Your Forms on Time                                              A married couple may file a bankruptcy
                                                                                                 case together—called ajoint case. If you
                   Section 521(a)(1) of the Bankruptcy Code                                      file a joint case and each spouse lists the
                   requires that you promptly file detailed                                      same mailing address on the bankruptcy
                   information about your creditors, assets,                                     petition, the bankruptcy court generally will
                   liabilities, income, expenses and general                                     mail you and your spouse one copy of
                   financial condition. The court may dismiss                                    each notice, unless you file a statement
                   your bankruptcy case if you do not file this                                  with the court asking that each spouse
                   information within the deadlines set by the                                   receive separate copies.
                   Bankruptcy Code, the Bankruptcy Rules,
                   and the local rules of the court.
                                                                                                 Understand which services you
                                                                                                 could receive from credit
                   For more information about the documents                                      counseling agencies
                   and their deadlines, go to:
                   http://www.uscourts.gov/bkforms                                               The law generally requires that you receive
                   /bankruptcy_form                                                              a credit counseling briefing from an
                   s.html#procedure.                                                             approved credit counseling agency. 11
                                                                                                 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the
                 Bankruptcy crimes have serious                                                  briefing. With limited exceptions, you must
                 consequences
                                                                                                 receive it within the 180 days before you
                         If you knowingly and fraudulently                                       file your bankruptcy petition. This briefing
                         conceal                                                                 is usually conducted by telephone or on
                         assets or make a false oath or statement                                the Internet.
                         under penalty of perjury—either orally or
                         in writing—in connection with a                                         In addition, after filing a bankruptcy case,
                         bankruptcy case, you may be fined,                                      you generally must complete a financial
                         imprisoned, or both.                                                    management instructional course before
                         All information you supply in connection                                you can receive a discharge. If you are
                         with a bankruptcy case is subject to                                    filing a joint case, both spouses must
                         examination by the Attorney General                                     complete the course.
                         acting
                         through the Office of the U.S. Trustee,                                 You can obtain the list of agencies
                         the                                                                     approved to provide both the briefing and
                         Office of the U.S. Attorney, and other                                  the instructional course from:
                         offices and employees of the U.S.                                       http://justice.gov/ust/eo/hapcpa
                         Department of Justice.                                                  /ccde/cc_approved.html.


                 Make sure the court has your                                                    In Alabama and North Carolina, go to:
                 mailing address                                                                 http://www.uscourts.gov/FederalCourts
                                                                                                 /Bankruptcy/
                 The bankruptcy court sends notices to the                                       BankruptcyResources/ApprovedCredit
                 mailing address you list on Voluntary Petition for                              AndDebtCounselors.aspx.
                 Individuals Filing for Bankruptcy(Official Form
                 101). To ensure that you receive information                                    If you do not have access to a computer,
                 about your case, Bankruptcy Rule 4002 requires                                  the clerk of the bankruptcy court may be
                 that you notify the court of any changes in your                                able to help you obtain the list.
                 address.


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